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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

BRIAN K. MITCHELL                                                      PLAINTIFF


VS.                                            NO. 4:21CV000917


CHRISTINA DRALE,
In her individual and official capacities;
SARA BETH ESTES, in her individual capacity;
JESS PORTER, in his individual capacity; and
BLENDA BLEVINS-KNABE,
in her individual capacity                                               DEFENDANTS


                                            JUDGMENT

       Consistent with the Order entered on this day, this case is dismissed with prejudice. All

relief sought is denied, and the case is closed.

       Dated this 6th day of April, 2023.


                                                          ______________________________
                                                          James M. Moody Jr.
                                                          United States District Judge
